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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                   PITTSBURGH

RYAN DOUGLAS KNOCH,                               )
                                                  )
               Plaintiff,                         )               2:16-CV-00970-CRE
                                                  )
       vs.                                        )
                                                  )
THE UNIVERSITY OF PITTSBURGH, DR.                 )
PATRICIA BEESON, KENYON BONNER,                   )
                                                  )
BARBARA RUPRECHT, ANTHONY                         )
BLEDSOE, CYNTHIA TANANIS,                         )
JENNIFER SENG, JANE DOE, AND;                     )
JOHN DOE (#1), AND; AND JOHN DOE                  )
(#2),                                             )
                                                  )
               Defendants,                        )

                                 MEMORANDUM OPINION

CYNTHIA REED EDDY, United States Magistrate Judge.

       This matter is before the Court upon Plaintiff Ryan Douglas Knoch’s (“Plaintiff’s”)

Motion for Preliminary Injunction. [ECF No. 2].         In his motion, Plaintiff alleges that the

Defendants violated his due process and equal protection rights under Title IX of the Education

Amendment of 1972, 20 U.S.C. § 1681(a), et seq., and 42 U.S.C. § 1983 in taking disciplinary

action against him and suspending him from the University of Pittsburgh’s (the “University’s”)

Swanson School of Engineering. Plaintiff seeks a Court Order directing the University to allow

Plaintiff to register for classes at the University for the Fall 2016 and Spring 2017 semesters

notwithstanding his suspension. In the underlying Complaint, Plaintiff also seeks monetary

damages for his financial loss, psychological and emotional distress, loss of standing in his

community, damage to his reputation, his family’s unreimbursed out of pocket expenses incurred

in response to his suspension, and attorneys’ fees and costs.

       A preliminary injunction hearing was held on August 22, 2016. At the hearing, the Court

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heard from Richard Fann, a University Judicial Board Hearing Panel member, Barbara Ruprecht,

the University’s Student Conduct Officer, Cynthia Tananis, a University Review Board member,

Kenyon Bonner, the University’s Vice Provost and Dean of Students and Plaintiff Ryan Knoch.

This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.1           For the reasons that

follow, Plaintiff’s Motion for Preliminary Injunction is denied.

    I.      FINDINGS OF FACT

         Plaintiff has been enrolled as a student at the University since Fall 2012. Joint Stip. [ECF

No. 21] at ¶ 1. Plaintiff has to complete fourteen credits, or approximately one semester, to

graduate. Tr. at 149. The facts underlying the instant action concern Plaintiff’s suspension from

the University of Pittsburgh’s Swanson School of Engineering for alleged violations of the

Student Code of Conduct (“Code”). Joint Stip. at ¶ 12. Plaintiff was alleged to have violated the

Code in connection with his interaction with a female University Student, J.S. that occurred on

January 28, 2016. Tr. at 46; Pl’s Ex. 8 1/28/16 Judicial Referral. On that date, an argument

ensued between Plaintiff and J.S. at J.S.’s residence. Pl.’s Ex. 8 1/28/16 Judicial Referral. The

two were in or had been in a romantic or intimate relationship. Id. During the incident, Plaintiff

is alleged to have placed his hands on J.S. in a way that could cause bruising and threw her

laptop off of her kitchen table. Id. J.S. contacted the City of Pittsburgh Police Department who

arrived on the scene. Id. Plaintiff was then arrested by the City of Pittsburgh Police Department

and charged in Allegheny County with one count of Simple Assault and one count of Criminal

Mischief. Joint Stip. at ¶ 7. These charges were later withdrawn at the magisterial level after

Plaintiff completed twenty-four sessions of a batterers intervention class. Id. at ¶¶ 2-3. On that



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        All parties have consented to jurisdiction before a United States Magistrate Judge;
therefore the Court has the authority to decide motions for preliminary injunction and dispositive
motions, and to eventually enter final judgment. See 28 U.S.C. § 636, et seq.
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same date, a University complaint alleging that Plaintiff violated certain Code provisions, also

referred to as a Judicial Referral, was filed against Plaintiff by University Police Officer

Jonathan Beck who responded to the call involving the domestic dispute between Plaintiff and

J.S. Id. at ¶¶ 9-11.

        a. University of Pittsburgh Student Code of Conduct and Judicial Procedures

        The University Student Code of Conduct and Judicial Procedures establishes procedures

by which it adjudicates alleged conduct violations involving its students. Def.’s Ex. 1 2015

University Student Code of Conduct. Under the Code, ““[a]ny University official or member of

the University community may institute a proceeding against a student . . . by filing a judicial

referral with the Office of Student Conduct.” Id. at 17. The Code defines a “judicial referral” as

“a report filed regarding violations of the Code,” Id. at 13, which must set forth the Code

violation(s) alleged to have occurred, the parties to the alleged Code violation(s), the facts

surrounding the alleged violation(s), and any witnesses to the alleged violation(s). Id. at 17.

        The Code grades the severity of the judicial referral based on incident levels as to the

alleged conduct. Id. at 14-19. Here, Plaintiff’s alleged violation was graded as a Level II

incident. Tr. at 67. Once a Level II incident judicial referral has been filed, a disciplinary

conference is scheduled in order to allow a Student Conduct Officer to review the charges with

the alleged offender. Def.’s Ex. 1 2015 University Student Code of Conduct at 19. At this

meeting, the respondent is permitted to elect to hold a full hearing before the University’s

Judicial Board to determine the veracity of the alleged Code violations. Id. At the Judicial Board

hearing, the Student Conduct Officer serves as moderator and three Judicial Board Members sit

as panel members during the hearing. Id. at 19-20. The student is not permitted to a full “legal”

evidentiary hearing and no technical rules of evidence are applied at the hearing. Id. However,



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the Student Conduct Officer in serving as the moderator controls the admissibility of evidence at

the hearing and is guided by the “[r]easonable rules of relevancy” in determining whether

evidence or testimony is admissible. Id. at 20.

       After a Judicial Board hearing is held, the Judicial Board renders a decision and submits a

recommendation to the Vice Provost and Dean of Students for final adjudication or decision. Id.

at 19; 22.   The Dean of Students may adopt the Judicial Board’s recommendation or alter the

recommended sanctions “if he or she believes that the totality of circumstances, including but not

limited to any prior offenses and University precedents, justifies it.” Id. at 22. The Dean of

Students’ final decision is then issued to both the complainant and the respondent. Id. at 22.

       If the respondent disagrees with an adverse decision, the student retains the right to an

appeal the decision to the University Review Board (“URB”). Id. at 22. The URB’s scope of

review is limited and may consider “whether rights affirmed by the Board of Trustees have been

denied,” whether the initial hearing was conducted “fairly and in conformity with properly

prescribed procedures,” and whether the findings and sanctions were “arbitrary and capricious”

in nature. Id. at 23. The URB has discretion to determine the appeal based on the submission of

the documents from the parties alone, with or without oral argument. Id. at 24. The URB then

must render a final, written decision recommending action to the Provost, and may remand a

matter to the Student Conduct Office for further proceedings if it determines that there are

insufficient written findings or prejudicial procedural errors. Id. at 25. The Provost may either

accept or reject the URB’s recommendations. Pl.’s Ex. 29 at URB Rec. at 8.

       b. Plaintiff’s Alleged Violations of the University’s Student Code of Conduct

       The Judicial Referral filed on January 28, 2016 alleged that Plaintiff violated three

provisions of the Code in connection with his interaction with J.S. pertaining to physical abuse,



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threat of physical abuse, and relationship violence. Joint Stip. [ECF No. 21] at ¶ 12.

        Plaintiff was represented by counsel, and on February 4, 2016, Barbara Ruprecht

(“Ruprecht”), the University’s Student Conduct Officer, informed Plaintiff and his counsel that a

Judicial Board Hearing would be held on February 25, 2016.2 Id. at ¶¶ 13-15. On February 11,

2016, Plaintiff’s counsel requested that three witnesses be permitted to testify at the February 25,

2016 hearing, including licensed psychologist Dr. Shannon Edwards. Id. at ¶ 16. Plaintiff sought

for Dr. Edwards to testify as to the symptoms of mental disorders that J.S. allegedly reported

suffering from and how those mental disorders would affect J.S.’s credibility at the Judicial

Board Hearing. Tr. at 39-41.      Ruprecht denied Plaintiff’s counsel’s request to permit Dr.

Edwards to testify at Judicial Board Hearing, because Dr. Edwards had never treated J.S., and in

Ruprecht’s opinion, Dr. Edwards’ proposed testimony regarding J.S.’s alleged mental disorders

was not relevant to the issue of whether Plaintiff violated the University’s Code of Conduct.

Joint Stip. at ¶ 17.

        On or about February 14, 2016, J.S. supplemented the January 28, 2016 Judicial Referral

to include alleged events from August, October and November 2015 in which Plaintiff allegedly

threatened, intimidated and/or used physical force against J.S. Id. at ¶ 18. At a meeting with

Plaintiff, his counsel and parents shortly after J.S. supplemented the January 28, 2016 referral,

Ruprecht informed Plaintiff that if he admitted responsibility or was found responsible for the

violations of the Code for which he was accused, Ruprecht would recommend a two-term

suspension for Plaintiff’s infractions. Id. at ¶ 19. On February 16, 2016, Plaintiff’s counsel

requested and was granted a postponement of the February 25, 2016 Judicial Board Hearing in



2
        Ruprecht attempted to schedule a Judicial Board Hearing on the January 28, 2016
Judicial Referral on February 11, 2016 and February 18, 2016, but the parties were unable to
mutually agree upon either date. Id. at ¶ 14.
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order to properly investigate and prepare witnesses based on J.S.’s supplementation to the

January 28, 2016 Judicial Referral. Id. at ¶¶ 20-21. The Judicial Board Hearing was rescheduled

for March 17, 2016, to take place following the University’s scheduled spring break. Id. at ¶ 22.

        On or about March 1, 2016, Plaintiff filed a Judicial Referral against J.S. alleging various

violations of the Code. He alleges that on a trip to Chicago he had taken with J.S. and her family

in August 2015, J.S. had taken Plaintiff’s debit card out of his wallet and used it without asking

Plaintiff, and when Plaintiff confronted her, she pepper-sprayed him and threw his backpack out

of the two-story apartment they were staying in. Id. at ¶ 23; Pl.’s Ex. 12 3/1/2016 Judicial

Referral. Likewise, Plaintiff alleges in the Judicial Referral against J.S. that during the January

27, 2016 incident that occurred at J.S.’s apartment, and subject to the Judicial Referral filed

against him, she punched him in the chest, and while she was flailing her arms, he put his hands

on her arms to hold them down, possibly causing bruising. Pl.’s Ex. 12 3/1/2016 Judicial

Referral. Plaintiff also included a complaint that J.S. had filed false allegations against him and

provided misrepresented information to university officials and police officers about previous

incidents. Id.

        On March 8, 2016, Ruprecht informed Plaintiff that she would not join Plaintiff’s March

1, 2016 Judicial Referral against J.S. to the January 28, 2016 and February 14, 2016 Judicial

Referrals that were the subject of the rescheduled March 17, 2016 hearing. Joint Stip. at ¶ 24.

But, Ruprecht informed Plaintiff that he was “free to reference any of the information contained

in [his] referral as part of [his] testimony in that hearing, to the extent that the information [was]

relevant.” Id. at ¶ 25.

        Pursuant to the University’s Code of Conduct and Judicial Procedures, the University

held a hearing before a three-member Judicial Board on March 17, 2016. Id. at ¶ 26. The three



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members of the panel for the Judicial Board Hearing were Defendants John Doe #1 – Zachary

Davis, John Doe #2 – Richard Fann, and Jane Doe – Carol Lippert. Id. at ¶ 27. Pursuant to the

Code, Plaintiff’s counsel was permitted to be present at the Judicial Board Hearing to act in an

advisory role, but was not permitted to question the witnesses. Id. at ¶ 28.           Plaintiff was

appointed a law student from the University of Pittsburgh School of Law as his representative to

question any witnesses. Tr. at 74. No contemporaneously created stenographic, audio, or video

record of the March 17, 2016 Judicial Hearing exists, and the University does not create any

records of any Judicial Board Hearings and destroys all notes made in the hearing. Joint Stip. at ¶

29; Tr. at 11. Any contemporaneously created notes made by any person present at the Judicial

Hearing, including notes made by Plaintiff, Plaintiff’s advisor, Plaintiff’s student representative,

Plaintiff’s counsel and the Defendants were not permitted to leave the hearing room and were

immediately destroyed following the hearing. Joint Stip. at ¶ 30. Plaintiff alleges that a student

witness, which the Court will refer to as “Dylan,” testified as to J.S.’s untrustworthiness, but that

exculpatory evidence was not cited in the Judicial Board recommendation and any evidence that

Dylan testified was destroyed. Tr. at 44-45; 158-159.

        By document dated March 17, 2016 and signed on March 22, 2016, the Judicial Board

found Plaintiff responsible for violating three provisions of the University’s Code of Conduct,

and recommended that he be suspended from the University for two semesters and provide proof

that he completed domestic violence classes as part of a court arrangement related to his January

arrest. Joint Stip. at ¶ 31.    On or about April 4, 2016, Defendant Kenyon Bonner, the

University’s Vice Provost and Dean of Students, approved the Judicial Board’s recommendation.

Id. at ¶ 32.

        On April 8, 2016, Plaintiff timely appealed the decision of the Judicial Board to the three



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member panel of the University Review Board (“URB”), and also sought a postponement of

sanctions pending his appeal. Id. at ¶ 33. Plaintiff’s motion to postpone sanctions pending his

appeal was granted and he was able to complete his spring semester classes on April 26, 2016.

Id. at ¶¶ 36-37. During this time, Plaintiff was only permitted to be on campus and only in

University buildings during the time his classes were held. Tr. at 47-48; 176. He was not

permitted to be on University grounds for any other reason. Ibid. The three members of the URB

panel who received Plaintiff’s appeal and motion to postpone sanctions were Defendants

Anthony Bledsoe, Jennifer Seng and Cynthia Tananis. Joint Stip. at ¶ 34. In accordance with the

University’s Code of Conduct, Defendant Seng of the University’s Office of General Counsel

served as the URB moderator for Plaintiff’s appeal. Joint Stip. at ¶ 35; Tr. at 100.

         On May 17, 2016, Plaintiff was notified that his petition for appeal was denied. Joint

Stip. at ¶ 38. Defendant Patricia Beeson, in her capacity as Provost for the University, signed the

URB’s Acceptance of Recommendation on May 12, 2016. Id. at ¶ 39. As a result, Plaintiff’s

two-term suspension was upheld and he remains ineligible to enroll in any classes at the

University until Summer 2017. Id. at ¶ 40.

         On or about May 27, 2016, Ruprecht contacted Plaintiff via email to schedule a meeting

to discuss his March 1, 2016 Judicial Referral against J.S. Id. at ¶ 41. Plaintiff’s referral against

J.S. remains unadjudicated. Tr. at 158.

   II.      CONCLUSIONS OF LAW

         A preliminary injunction is “an extraordinary remedy that may only be awarded upon a

clear showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, Inc.,

555 U.S. 7, 22, 129 S. Ct. 365, 376, 172 L. Ed. 2d 249 (2008) (citations omitted). In determining

whether a preliminary injunction should be granted, a district court must consider:



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       (1) whether the movant has shown a reasonable probability of success on the
       merits; (2) whether the movant will be irreparably injured by denial of the relief;
       (3) whether granting preliminary relief will result in even greater harm to the
       nonmoving party; and (4) whether granting the preliminary relief will be in the
       public interest

Iles v. de Jongh, 638 F.3d 169, 172 (3d Cir. 2011) (citations omitted). A plaintiff must produce

evidence sufficient to prove all four factors for a court to issue preliminary injunctive relief. The

Pitt News v. Fisher, 215 F.3d 354, 366 (3d Cir. 2000); N.J. Hosp. Ass'n v. Waldman, 73 F.3d

509, 512 (3d Cir.1995) (citation omitted). “A plaintiff’s failure to establish any element in its

favor renders a preliminary injunction inappropriate.” NutraSweet Co. v. Vit–Mar Enter., Inc.,

176 F.3d 151, 153 (3d Cir.1999). Each factor will be considered in turn.

               A. Success on the Merits3

       The Court of Appeals for the Third Circuit has recently explained that the degree of

likelihood of success on the merits calls for “a sufficient degree of success for a strong showing

… if there is a reasonable chance, or probability, of winning.” In re Revel AC, Inc., 802 F.3d

558, 568-69 (3d Cir. 2015) (internal citations and quotation marks omitted) (applying standard

for motion to stay under the Bankruptcy Code, but recognizing the obvious overlap with the

factors in considering preliminary injunctive relief). “Thus, while it is not enough that the

chance of success on the merits be better than negligible, the likelihood of winning . . . need not

be more likely than not.” Id. (internal citations and quotation marks omitted).

       Generally, Plaintiff alleges two causes of action: a deprivation of his procedural due



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        A district court is not bound by its findings and conclusions in deciding a motion for
preliminary injunction in deciding future dispositive motions or deciding whether to grant
permanent injunctive relief. “[A] decision on a preliminary injunction is, in effect, only a
prediction about the merits of the case.” Morris v. Hoffa, 361 F.3d 177, 189 (3d Cir. 2004)
(citations omitted). “[T]he trial court ‘is free to reconsider the merits of the case’” in
determining future dispositive motions or whether to grant permanent injunctive relief. Id.
(citations omitted).
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process rights and equal protection rights under both Title IX4 and the Fourteenth Amendment to

the United States Constitution.5

                      i.      Due Process

       As for Plaintiff’s procedural due process claim, “[t]he fundamental requirement of due

process is the opportunity to be heard ‘at a meaningful time and in a meaningful manner.’”

Mathews v. Eldridge, 424 U.S. 319, 333, 96 S. Ct. 893, 902, 47 L. Ed. 2d 18 (1976) (quoting

Armstrong v. Manzo, 380 U.S. 545, 552, 85 S.Ct. 1187, 1191, 14 L.Ed.2d 62 (1965). The

protections required under due process are not static; “due process is flexible and calls for such

procedural protections as the particular situation demands.” Morrissey v. Brewer, 408 U.S. 471,

481, 92 S.Ct. 2593, 2600, 33 L.Ed.2d 484 (1972). Thus, “[d]ue process, unlike some legal rules,

is not a technical conception with a fixed content unrelated to time, place and circumstances.”

Mathews v. Eldridge, 424 U.S. 319, 334, 96 S. Ct. 893, 902, 47 L. Ed. 2d 18 (1976) (citations

and internal quotation marks omitted).

4
        Title IX provides that: “No person in the United States shall, on the basis of sex, be
excluded from participation in, be denied the benefits of, or be subjected to discrimination under
any education program or activity receiving federal financial assistance....” 20 U.S.C. § 1681(a).
The United States Supreme Court has recognized that Title IX includes an implied private right
of action. Cannon v. University of Chicago, 441 U.S. 677, 717, 99 S.Ct. 1946, 60 L.Ed.2d 560
(1979).
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       Plaintiff brings his constitutional claims pursuant to 42 U.S.C. § 1983. Section 1983 of
the Civil Rights Act provides:

       Every person who, under color of any statute, ordinance, regulation, custom, or
       usage of any State or Territory or the District of Columbia, subjects, or causes to
       be subjected, any citizen of the United States or any other person within the
       jurisdiction thereof to the deprivation of any rights, privileges, or immunities
       secured by the Constitution and laws, shall be liable to the party injured in an
       action at law, suit in equity, or other proper proceeding for redress....

42 U.S.C. § 1983. To establish a claim under Section 1983, “a plaintiff must demonstrate a
violation of a right protected by the Constitution or laws of the United States that was committed
by a person acting under color of state law.” Nicini v. Morra, 212 F.3d 798, 806 (3d Cir.2000).

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       In the present context, the Supreme Court has assumed, without deciding, that students of

public institutions of higher learning have a constitutionally protected property interest in their

continued enrollment.6 See Regents of Univ. of Michigan v. Ewing, 474 U.S. 214, 222, 106 S. Ct.

507, 511, 88 L. Ed. 2d 523 (1985). A student charged with misconduct may not be suspended

from a public school without the minimum procedures required by the due process clause. Goss

v. Lopez, 419 U.S. 565, 574, 95 S. Ct. 729, 736, 42 L. Ed. 2d 725 (1975) (recognizing that public

education implicates property and liberty interests protected by the due process clause and “may

not be taken away for misconduct without adherence to the minimum procedures required by that

Clause.”). Where a student is suspended for a time period greater than ten days, due process

requires more formal procedures. Id. at 584. The general procedural due process factors set forth

in Mathews v. Eldridge, 424 U.S. 319, 335 (1975) should be considered in this context:

       First, the private interest that will be affected by the official action; second, the
       risk of an erroneous deprivation of such interest through the procedures used, and
       the probable value, if any, of additional or substitute procedural safeguards; and
       finally, the Government's interest, including the function involved and the fiscal
       and administrative burdens that the additional or substantive procedural
       requirement would entail.

Mathews, 424 U.S. at 335.

       Plaintiff first alleges that his due process rights were violated because the University

limited the evidence he sought to present at the Judicial Board Hearing when Defendant



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        There is an open question under Pennsylvania law as to whether the University of
Pittsburgh is a “state-related institution” under the University of Pittsburgh – Commonwealth
Act, 24 P.S. §§ 2510-202(6), such that its student handbook does not form a contract with its
students, or such that it could avoid any constitutional obligation. See Gati, 91 A.3d 723, 730
n.12. Because Plaintiff did not bring a breach of contract cause of action, and neither parties
make the distinction of the University’s identity under Pennsylvania law, the Court will not draw
a distinction here. Further, the University “should not expect to use its unique state-related status
to avoid any obligation to its students under either due process or contract law.” Id. at 731. See
also Walsh v. Univ., 2015 WL 128104 at 7 (recognizing the University of Pittsburgh’s distinct
status under Pennsylvania law).
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Ruprecht did not allow Dr. Edwards to testify on the issue of J.S.’s credibility at the March 17,

2016 Judicial Board Hearing. Due process does not require that a student be permitted to enter

all favorable evidence and Plaintiff cites to no legal authority for the proposition that a non-

treating physician be permitted to provide expert testimony as to the mental faculties and

credibility of an accuser at the disciplinary hearing. See e.g., Nash v. Auburn Univ., 812 F.2d

655, 665 (11th Cir. 1987) (disciplinary proceedings need not follow formal rules of evidence);

Murakowski v. Univ. of Delaware, 575 F. Supp. 2d 571, 586 (D. Del. 2008) (“a full-scale

adversarial proceeding similar to those afforded to criminal defendants, nor an investigation,

which would withstand such a proceeding, is required to meet due process. . . . Although a

university must treat students fairly, it is not required to convert its classrooms into

courtrooms.”). Likewise, the Code explicitly provides that no technical legal rules apply to a

Judicial Board Hearing and provided Ruprecht with the discretion to disallow witnesses if their

proffered testimony was irrelevant to the alleged Code violations.

       Plaintiff next alleges that his due process rights were violated because the University’s

policies and procedures established a practice that forbids a contemporaneous record being made

of the Judicial Board Hearing and no record of Plaintiff’s hearing exists outside of what is

written in the Judicial Board Panel’s recommendation, thus rendering any subsequent review of

the hearing factually impossible.    While the Court does take pause with the fact that the

University does not create a contemporaneous record of the only fact finding proceeding in its

disciplinary process, ostensibly rendering a de novo review impossible, again, Plaintiff points to

no legal authority, nor does he make a legal argument, which would require that the University to

maintain a complete record of Plaintiff’s disciplinary proceeding. Therefore, without legal

justification, the Court cannot make a determination of whether he is likely to succeed on the



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merits of this claim.

       Plaintiff next alleges that his due process rights were violated because the University’s

policies and procedures forbids a licensed attorney to act in that capacity, and Plaintiff’s attorney

could not act in that capacity at the Judicial Board Hearing by questioning any witnesses or

presenting Plaintiff’s case. It is possible that the policy of not allowing a licensed attorney to act

on behalf of the accused during the hearing, and only be present, may implicate due process

violations, as Plaintiff faced a two-semester suspension and thus required more formal

procedures to take away his liberty and property interests in his continued education. See Goss,

419 U.S. 581-83 (recognizing no right to counsel for a student facing suspension of ten days or

less, but silent as to the right to counsel for suspensions greater than ten days); Gabrilowitz v.

Newman, 582 F.2d 100, 106 (1st Cir. 1978) (requiring assistance of counsel due to potential

compromise of the student’s rights due to pending criminal proceeding arising from the same

events); but see Flaim v. Med. Coll. of Ohio, 418 F.3d 629, 640 (6th Cir. 2005) (finding no right

to counsel in disciplinary hearing where the proceeding was not procedurally complex, there

were no rules of evidence, the student was permitted to present his defense to the committee and

to rebut any adverse testimony while addressing his version of the events). However, because

Plaintiff points to no legal authority on this point, and makes no legal argument, the Court will

not assume that he is likely succeed on the merits of this claim.

       Plaintiff next alleges that the Judicial Board Hearing Panel failed to consider and include

in its recommendation exculpatory evidence presented by Plaintiff at the hearing, including

testimony from Dylan regarding J.S.’s proclivity for untrustworthiness. As explained supra, due

process does not impose any requirement of what evidence a review board must consider in

making its determination. It simply provides that the student be provided the opportunity to



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present evidence and make arguments in his favor. It is undisputed that Plaintiff was permitted

to enter any exculpatory evidence he deemed worthy of submission, other than the testimony of

Dr. Edwards, and was permitted to make any argument at the hearing that his conduct did not

violate the Code.     The Judicial Board omitting this alleged exculpatory evidence from its

recommendation does not offend Plaintiff’s due process rights to be heard in a meaningful

manner.

       Finally, Plaintiff alleges that the URB conducted evidentiary fact finding not permitted

under the Code and dismissed Plaintiff’s appeal without a hearing. As to the latter argument, the

URB has discretion to determine the appeal based on the submission of the documents from the

parties alone, with or without oral argument under the Code. The Code does not permit a re-

hearing or submission of additional evidence as part of the appeals process, and the Court does

not otherwise find that this violates Plaintiff’s due process rights. As to Plaintiff’s former

argument that the URB conducted impermissible fact finding under the Code, it is unclear from

the record what alleged fact-finding occurred and what, if any, departures from the Code

occurred. While “[s]ignificant and unfair departures from an institution’s own procedures can

amount to a violation of due process[,]” Plaintiff does not develop this argument, therefore this

Court cannot determine whether he is likely to be successful on the merits of any such claim.

Furey v. Temple Univ., 730 F. Supp. 2d 380, 396–97 (E.D. Pa. 2010).

                       ii.     Equal Protection

       Plaintiff claims that his equal protection rights were violated because the University

timely accepted J.S.’s first and second judicial referrals against him, while it waited eighty-six

days to accept Plaintiff’s judicial referral against J.S. Further, Plaintiff claims that the University

immediately placed restrictions on Plaintiff after J.S.’s judicial referrals against him were



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received, while no restrictions were placed on J.S. after Plaintiff filed his judicial referral against

her.

       In order for a Plaintiff to bring a successful equal protection claim, he must “prove the

existence of purposeful discrimination. [He] must demonstrate that [he] ‘receiv[ed] different

treatment from that received by other individuals similarly situated[.]” Andrews v. City of

Philadelphia, 895 F.2d 1469, 1478 (3d Cir.1990) (quoting Kuhar v. Greensburg–Salem Sch.

Dist., 616 F.2d 676, 677 n. 1 (3d Cir.1980)). To prove discrimination based upon gender, “a

plaintiff must show that any disparate treatment was based upon his gender.” Similarly, under

Title IX, Plaintiff must demonstrate that he was subjected to discrimination under any education

program or activity receiving Federal financial assistance. 20 U.S.C. § 1681(a).

       Here, Plaintiff has made at least a prima facie showing that his equal rights were violated

when the University took eighty-six days to accept his judicial referral against Plaintiff, while

immediately accepting the judicial referrals made by J.S, a female student. Likewise, as soon as

the judicial referral was levied against Plaintiff, he was placed on restricted access on campus,

whereas J.S. was placed on no such restriction when Plaintiff levied the judicial referrals against

her. In their brief, Defendants merely argue that the University’s deferral of Plaintiff’s judicial

referral against J.S. has no bearing on whether the University should be enjoined from enforcing

its two-term suspension against Plaintiff because the allegations levied against each student are

separate and distinct. Defendants’ argument misses the point; the University’s enforcement of

Plaintiff’s suspension has no bearing on Plaintiff’s claim that he was treated differently than a

female student under the same underlying events.        However, at the hearing, Ruprecht testified

that she did not place J.S. on an interim suspension after Plaintiff filed a referral against J.S.

because the referral was filed by a student, and not the police, as was the referral against



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Plaintiff, there was no arrest, the incidents alleged in Plaintiff’s referral against J.S. were past

incidents and not contemporary, and the actual allegations were not as serious as those levied

against Plaintiff. Tr. at 87. Taking this testimony into consideration, it is unlikely that Plaintiff

can succeed on his equal protection claim for failing to place J.S. on interim suspension, as the

two are not similarly situated. As to Plaintiff’s claim that his equal protection rights were

violated because the University failed to immediately accept and commence the adjudicatory

process of his referral against J.S., a prima facie showing is not enough to find a likelihood of

success on the merits, and Plaintiff has not otherwise proven he is likely to succeed on this claim.

Accordingly, the Court cannot find this factor in Plaintiff’s favor.

               B. Irreparable Harm

       The second factor in deciding a motion for preliminary injunction requires that a plaintiff

demonstrate a “clear showing of immediate irreparable injury.” Cont'l Grp., Inc. v. Amoco

Chemicals Corp., 614 F.2d 351, 358 (3d Cir. 1980).           An injury that is merely serious or

substantial alone does not demonstrate an irreparable injury; the injury must be of a peculiar

injury, such that monetary compensation alone cannot atone for it. Glasco v. Hills, 558 F.2d 179,

181 (3d Cir. 1977). A plaintiff must demonstrate a potential harm which cannot be redressed by

a legal or equitable remedy following trial; the preliminary injunctive relief must be the only

way of protecting the Plaintiff from harm. Id.

       Plaintiff alleges that he needs to complete fourteen credits to fulfill his degree

requirement and without being permitted to register and attend class in the Fall 2016 semester, he

will not be able to earn his degree until December 2017. He alleges that his suspension will

cause him to suffer loss of income, loss of career experience and professional reputation and loss

of continuity of education.



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       The Court finds that these injuries are not irreparable. Primarily, any loss of income

Plaintiff will suffer by not timely entering the workforce because of his suspension can

undeniably be compensated by monetary damages and does not qualify as irreparable harm. See

Howe v. Pennsylvania State Univ. - Harrisburg, No. CV 1:16-0102, 2016 WL 393717, at *6

(M.D. Pa. Feb. 2, 2016) appeal dismissed (Mar. 29, 2016). Likewise, other courts have found

that interruption of a student’s education, while a genuine injury, is not irreparable. See

Schulman v. Franklin & Marshall Coll., 371 Pa. Super. 345, 349, 538 A.2d 49, 51-52 (1988)

(finding no irreparable harm to suspended student who suffers “a delay in his educational process

but will not lose the opportunity, by virtue of a suspension to complete his college training[.]”);

Howe, 2016 WL 393717 at *6 (a student suspended for one semester could not show irreparable

harm for the loss of continuity of his education where the classes he needed to take to complete

his education were only offered in the spring semester, such that his suspension would

effectively run for two semesters and he could not show that he would have graduated on time

regardless of the suspension).

       The Court finds that while Plaintiff will suffer injury by not timely graduating because of

his suspension, this injury is not irreparable. Plaintiff has only offered mere speculation that he

would be unable to enter the workforce due to his suspension and any interruption of his

education and delay in entering the workforce can adequately be compensated by monetary

damages should he be successful on the merits of his claims. He offered no evidence that he has

been rejected for any employment position because of his suspension. It is also speculative that

he would lose any professional connections by virtue of his suspension, as he has not alleged that

his suspension would prevent him from continuing to foster any networking connections he has

through the University in the engineering field. Likewise, any record of his suspension can be



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ordered removed from University records should he succeed on his claims.

       Defendants also urge this Court to consider Plaintiff’s delay in filing for his preliminary

injunctive relief as a reason to find he will suffer no irreparable injury. Plaintiff filed his Motion

for Preliminary Injunction on July 11, 2016, thirteen days after he filed his complaint and two

months after Provost Beeson accepted the URB’s recommendation May 12, 2016 and the

adjudication process ended. Plaintiff provides no excuse for failing to file his motion for

preliminary injunction until two months after he was put on final notice of his suspension, and

approximately a month and a half before the commencement of the Fall 2016 semester. While

his delay is not determinative, as Plaintiff has failed to otherwise show irreparable harm, his

delay in seeking preliminary injunctive relief tends to negate the immediacy of his alleged

irreparable harm.

       Accordingly, Plaintiff has not shown that he will suffer irreparable injury if the injunction

does not issue.

                  C. Harm to Non-moving Party

       In considering this factor, and particularly where the parties “present competing claims of

injury,” the court “balances the conveniences of the parties and possible injuries to them

according as they may be affected by the granting or withholding of the injunction.” Weinberger

v. Romero-Barcelo, 456 U.S. 305, 312, 102 S. Ct. 1798, 1803, 72 L. Ed. 2d 91 (1982) (quoting

Yakus v. United States, 321 U.S. 414, 440, 64 S.Ct. 660, 675, 88 L.Ed. 834 (1944)). In other

words, the court “must undertake to balance the hardships to the respective parties.” Pappan

Enterprises, Inc. v. Hardee's Food Sys., Inc., 143 F.3d 800, 805 (3d Cir. 1998).

       This factor appears to tilt slightly in favor of the University.            While Plaintiff’s

reinstatement at the University for the Fall 2016 semester would benefit Plaintiff by permitting



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him to continue his education uninterrupted, Plaintiff’s reinstatement would cause greater harm

to the University’s ability to discipline its students accused of misconduct without resorting to

judicial intervention and its ability to protect its students from harmful conduct and maintain

order on campus.

               D. Public Interest

       The final factor considers “whether there are policy considerations that bear on whether

the order should issue.” Trefelner ex rel. Trefelner v. Burrell Sch. Dist., 655 F. Supp. 2d 581, 598

(W.D. Pa. 2009) (quoting 11A CHARLES ALAN WRIGHT, ARTHUR R. MILLER & MARY

KAY KANE § 2948.4 at 200–01 (2d ed. 1995)).

       In the present case, this factor is neutral.       While the public’s interest in pursuing

education free of constitutional violations is undeniable, see Brown v. Bd. of Ed. of Topeka,

Shawnee Cty., Kan., 347 U.S. 483, 493, 74 S. Ct. 686, 691, 98 L. Ed. 873 (1954), supplemented

sub nom. Brown v. Bd. of Educ. of Topeka, Kan., 349 U.S. 294, 75 S. Ct. 753, 99 L. Ed. 1083

(1955), an educational institution’s authority to make disciplinary decisions without having to

resort to court intervention is a substantial public interest. Requiring so would substantially

weaken the institution’s legitimate disciplinary authority among its students and be detrimental

to the public interest, as educational institutions encourage their students to conduct themselves

as model citizens in adhering to any applicable code of conduct. See Bleicker v. Bd. of Trustees

of Ohio State Univ., Coll. of Veterinary Med., 485 F. Supp. 1381, 1389 (S.D. Ohio 1980)

(finding that an educational institution has a considerable interest in protecting the integrity of its

disciplinary regulations and a court’s intervention into the affairs of the college would

“substantially weaken its legitimate authority among its own students” and members of the

profession, causing a public disservice).



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   III.      CONCLUSION

          Accordingly, based on the foregoing, Plaintiff’s Motion for Preliminary Injunction is

DENIED. An appropriate Order follows.



          DATED this 31st day of August, 2016.


                                             BY THE COURT:

                                             s/Cynthia Reed Eddy
                                             United States Magistrate Judge




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